       Case 2:18-cr-00101-GEKP Document 331 Filed 12/15/21 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

               v.                                              Criminal Action

 MEHDI NIKPARVAR-FARD                                  No. 2:18-cr-00101-1-GEKP
     a/k/a Mehdi Armani,

                             Defendant.


                                          ORDER

       AND NOW, this ______ day of December, 2021, it is hereby

       ORDERED that the application of Nicholas R. Tambone, Esquire, to practice in this

court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

       ________ GRANTED

       ________ DENIED


                                                   Hon. Gene E.K. Pratter, U.S.D.J.
                   Case 2:18-cr-00101-GEKP Document 331 Filed 12/15/21 Page 2 of 5
                                               IN THE UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                   Action No#   18-00101-1
                       APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                 PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)




         I, Nicholas R. Tambone                                   the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                   (See Attached)
                   (State where admitted)            (Admission date)               (Attorney Identification Number)


                    (State where admitted)            (Admission date)              (Attorney Identification Number)


                    (State where admitted)            (Admission date)              (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:

                   (See attached)
                   (Court where admitted)            (Admission date)               (Attorney Identification Number)


                   (Court where admitted)             (Admission date)              (Attorney Identification Number)


                   (Court where admitted)             (Admission date)              (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for              ___________________________________________


                                                      12/15/2021
                                                     ___________________________________________
                                                     (Date)

                                       Blank Rome LLP
                                       1271 Avenue of the Americas New York, NY 10020
                                       (212) 885-5120
                                       Nicholas.Tambone@BlankRome.com

       I declare under penalty of perjury that the foregoing is true and correct.


                   12/15/2021
       Executed on __________________________                                     ______________________________________
                            (Date)

                                                                                                                            04/20
              Case 2:18-cr-00101-GEKP Document 331 Filed 12/15/21 Page 3 of 5



           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Nicholas R. Tambone                                                                to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)

 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Joseph G. Poluka
 ______________________              _________________________
                                                                             (Admission date)           (Attorney
                                                                                                       Identification No.)




   Blank Rome LLP
   One Logan Square, 130 North 18th Street, Philadelphia, PA 19103
   (215) 569-5624




I declare under penalty of perjury that the foregoing is true and correct.


Executed on                                                     ____________________________________________
                           (Date)
Case 2:18-cr-00101-GEKP Document 331 Filed 12/15/21 Page 4 of 5




                          State Jurisdictions

 Jurisdiction            Admission Date                Attorney ID No.

 New Jersey                 11/20/2012                   018422012

 New York                    10/7/2013                    5163274


                         Federal Jurisdictions

        Jurisdiction                             Admission Date

          S.D.N.Y.                                12/16/2013

          E.D.N.Y.                                12/17/2013

           2d Cir.                                 4/11/2014

          4th Cir.                                11/21/2014

           D.N.J.                                  6/29/2016

         W.D.N.Y.                                 11/15/2018

    U.S. Supreme Court                            11/19/2019
       Case 2:18-cr-00101-GEKP Document 331 Filed 12/15/21 Page 5 of 5




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

               v.                                            Criminal Action

 MEHDI NIKPARVAR-FARD                                   No. 2:18-cr-00101-1-GEKP
     a/k/a Mehdi Armani,

                             Defendant.


                              CERTIFICATE OF SERVICE

       I declare under penalty of perjury that a copy of the application of Nicholas R.

Tambone, Esquire, to practice in this court pursuant to Local Rule of Civil Procedure

83.5.2(b) and the relevant proposed Order which, if granted, would permit such practice in

this court was served as follows: UPON ALL COUNSEL OF RECORD, BY ECF



                                                            Joseph G. Poluka

                                               Dated:
